[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The court, having thoroughly and carefully reviewed the record in this case including the filed Stipulation of Facts and the Memorandum of Decision dated February 22, 2000, in Michael Robinson v. Commissioner ofCorrection, Docket No. CV97-405187, appeal pending S.C. 16368, and the Memorandum of Decision in Gus Woods v. Commissioner of Correction, CV99-587087, Judicial District of Hartford (Rittenband, J., 9/13/00), orders as follows: CT Page 8356
Judgment shall enter for the petitioner based on the earlier decisions mentioned herein. It is therefore ordered that the petitioner's parole-eligibility be determined based on the law in effect on the date of commission of his offense, on or about August 13, 1994.
SO ORDERED.
Dated at New Haven, Connecticut, this 21st day of June, 2001.
By the Court,
Anthony V. DeMayo Judge of the Superior Court
RESPONDENT
Warden
                                       RICHARD BLUMENTHAL ATTORNEY GENERAL
                                  BY:______________________ Steven R. Strom Assistant Attorney General Commissioner of the Superior Court 110 Sherman Street Hartford, CT 06105 Tel: (860) 808-5450 Juris No. 85119
                              CERTIFICATION
I hereby certify that a copy of the foregoing was mailed to the following on this 20th day of June, 2001:
  Paul R. Kraus, Esq. 129 Church Street New Haven, CT 06510
                                       Steven R. Strom Assistant Attorney General